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IN THE UNITED sTATEs I)IsTRICT COURT ` `“"'-~`D.c.

    

FoR THE wEsTERN nlsTRlCT oF TENNESSEE 05 JUL 20 PH
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iii --f'i /""`Hlj'p (_'O.Um
PYRAMH) MACHINE, INC., ) away
)
PLAINTIFF, )
)
v. ) CIVIL ACTIoN No. 1-05_1156-TN
)
RADICAL sYsTEMs, INC. )
)
DEFENI)ANT. )

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by written notice, the following dates are
established as the final dates for:
INITIAL DISCLOSURES (RULE 26(2\)(] )):

The parties will provide their initial disclosures as required by Fed. R. Civ. P. 26 (a)(l) by
August 12, 2005.

 

JOINING PARTIES:
for Plaintiff: Plaintiff shall be allowed until September 29, 2005 to join
additional parties
for Defendant: Defendant shall be allowed until October 31 2005 to join
additional parties.
AMENI)ING PLEADINGS:
for Plaintiff: Plaintiff shall be allowed until September 29, 2005 to amend
the pleadings
For Defendant: Det`endant shall be allowed until October 31, 2005 to amend
the pleadings

COMPLETING ALL DISCOVERY: All discovery shall be completed by M arch 31

 

This document entered on the docket sheet in dccm?L§nca
with Flu!e 58 and,‘or_79 {a) FRCP on

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2006.

(a) REQUESTS F()R PRODUCTI()N, INTERROGATORIES and
REQUESTS FOR ADMISSIONS:

(i) Must be completed by both parties by March 31 2006.

 

(ii) Each party is limited to serving 40 interrogatories
(b) EXPERT DISCLOSURE (Rule 26(a)(2)):

(i) Plaintift’ s Experts: Plaintiff shall disclose all information required
by Fed.R. Civ. P. 26 (a)(2) by December l
2005.

 

(ii) Defendant’s Experts: Defendant shall disclose all information
required by Fed. R. Civ. P. 26 (a)(2) by

February 1, 2006.

(iii) Supplementation under Rule 26(e): 10 days after Defendant’s
w

(c) DEPOSITIONS OF EXPERTS: Depositions of all experts disclosed by
the parties shall be completed by March 31 2006.

 

FILING DISPOSITIVE MOTIONS: Must be filed by Mal‘ch 31 2006.

 

FINAL LISTS OF WITNESSES AN]) EXHIBITS (Rule 26(21)(3)):

(a) for Plaintiff: 45 days before trial
(b) for Defendant: 30 days before trial

Parties shall have 10 days after service of final lists of witnesses and exhibits to tile
objections under Rule 26(a)(3).

The trial of this matter is expected to last 5 days and is SET for NON-JURY.WR¥ TRIAL
on Monclav, June 26. 2006 at 9:30 A.M. A joint pretrial order is due on Friday, June 16, 2006.
In the event the parties are unable to agree on a joint pretrial order, the parties must notify the court
at least ten days before trial.

OTl-IER RELEVANT MA'I`TERS:

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lnterrogatories, Requests for Production and Requests for Admissions must be submitted to
the opposing party in Sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FRCP allow 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior to the deadline for completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or within
30 days of the default or service of the response, answer, or objection which is the subject of the
motion if the default occurs Within 30 days of the discovery deadline, unless the time for filing of
such motion is extended for good cause shown, or any objection to the default, response, or answer
shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)( l )(B), all motions,
except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a proposed Order and
a Certiticate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party may
file an additional reply, however, without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to tile a reply accompanied by a memorandum setting forth
the reasons for which a reply is required.

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties with a definite trial date that will not be continued unless a continuance
is agreed to by all parties, or an emergency arises which precludes the matter from proceeding to
trial.

The parties are encouraged to engage in court-annexed attorney mediation or private
mediation on or before the close of discoverv.

This order has been entered after consultation with trial counsel pursuant to notice. Absent
good cause shown, the scheduling dates set by this Order will not be modified or extended

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: QlidL\ ¢>'D, .§)Oas/
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lT lS SO ORDERED.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:05-CV-01156 was distributed by faX, mail, or direct printing on
.luly 22, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

